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                   IN THE UNITED STATES DISTRICT COURT
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                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                              Case No. 17-CR-00213-MWF
       UrIITED STATES OF AMERICA,
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                         Plaintiff,
14                                              ORDER OF DETENTION AFTER
                    v.                          HEARING (Fed.R.Crim.P. 32.1(a)(6)
15                                              Allegations of Violations of
       BERNABE GUERRERO-                        Probation/Supervised Release
16     HERNANDEZ,                               Conditions)
17                       Defendant.
fE:~
19           On arrest warrant issued by a United States District Court involving alleged
20     violations of conditions of probation or Supervised Release,
21           The Court finds no condition or combination of conditions that will
22     reasonably assure:
23           ~      the appearance of defendant as required; and/or
24           ❑      the safety of any person or the community.
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26           //
27           //
28           //
       Case 2:17-cr-00213-MWF Document 36 Filed 10/13/20 Page 2 of 2 Page ID #:146



 1         The Court concludes:

2          D Defendant poses a risk of nonappearance, and the Court finds that
3          defendant has not demonstrated by clear and convincing evidence that
4          he/she does not pose such a risk. The risk of nonappearance is based on:
5          instant allegations; no viable bail resources; unverified background
6          information; family ties to Mexico.

7          ❑ Defendant poses a danger to the community, and the Court finds that

8          defendant has not demonstrated by clear and convincing evidence that he

9          does not pose such a risk. The risk of danger is based on:

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11         IT IS THEREFORE ORDERED that the defendant be detained.

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      Dated: 10/13/2020
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                                           HON.ROZELLA A. OLIVER
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f                                          UNITED STATES MAGISTRATE JUDGE
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